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            IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                    )
                                            )
            V.                              )   Criminal No. 18-292
                                            )
ROBERT BOWERS                               )

                           ORDER OF COURT

      Upon consideration of the Motion to Extend the Time for Filing Pretrial

Motions, it is hereby ORDERED that the motion is GRANTED.

      IT IS ORDERED that any pretrial motions referred to in Local

Criminal Rule 12 are due on or before April 23, 2020.

      IT IS FURTHER ORDERED that the delay resulting from this

extension of time (December 13, 2019 until April 23, 2020) be deemed

excludable delay under the Speedy Trial Act 18 U.S.C. §3161 et seq. For the

reasons stated in Mr. Bowers' motion, the Court finds that the ends of justice

served by granting this continuance outweigh the best interest of the public

and the defendant to a speedy trial. Specifically, the court finds that this

continuance is justified given the complexity of the case, pursuant to 18

U.S.C. § 3161(h)(7)(A) and (B)(ii).
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         Date                                      Donetta W. Ambrose
                                                   United States District Judge
